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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

CHARLES K. BRIDWELL,

                     Plaintiff,                                  8:11CV429

      vs.
                                                                  ORDER
UNITED STATES OF AMERICA,

                     Defendant.

       This matter is before the court on the parties’ Stipulation and Motion for
Dismissal with Prejudice (Filing No. 34). The court finds that the parties’ joint stipulation
should be granted in accordance with Fed. R. Civ. P. 41(a).


       IT IS ORDERED that the parties’ joint stipulation (Filing No. 34) is granted and
this case is dismissed with prejudice, each party to bear its own costs.


       Dated this 15th day of August, 2013.

                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
